Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 1 of 11 Page ID
                                    #:14
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 2 of 11 Page ID
                                    #:15
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 3 of 11 Page ID
                                    #:16
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 4 of 11 Page ID
                                    #:17
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 5 of 11 Page ID
                                    #:18
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 6 of 11 Page ID
                                    #:19
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 7 of 11 Page ID
                                    #:20
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 8 of 11 Page ID
                                    #:21
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 9 of 11 Page ID
                                    #:22
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 10 of 11 Page
                                  ID #:23
Case 2:20-cv-09538-RGK-MAA   Document 1-1   Filed 10/16/20   Page 11 of 11 Page
                                  ID #:24
